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lN THE UN|TED STA'|'ES D|STR|CT COURT ' ' ~. ,. ..
FOR '|'HE SOUTHERN D|STR|CT OF |ND|ANA ¢. f ._Il,,€;_ j 53 wl ;,},
|ND|ANAPOL|S DlVlSlON ' "‘
Leah R. Steere,
Plaintif'fl

No.
1 r 0 7 'CV' 0 914 1 -LJM -IMS

Jug¢ Demanded
COMPLA|NT

V.

l\/ledicredit, |nc., a Missouri corporation,
d/b/a Nledicredit Corporation,

Defendant

Plaintiff, Leah R. Steere, brings this action under the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, e_t M ("FDCPA"), for a declaration that Defendant’s
debt collection practices violate the FDCPA, and to recover damages for Defendant’s
violation of the FDCPA, and alleges:

JL|R|SD|CT|ON AND VENUE

1. This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28
U.S.C. § 1331.

2. Venue is proper in this District because the acts and transactions occurred
here, Plaintiff resides here, and Defendant transacts business here.

PART|ES

3. Plaintiff, Leah R. Steere ("Steere"), is a citizen of the State of lndiana,
residing in the Southern District of lndiana, from Whom Defendant attempted to collect a
delinquent consumer debt allegedly owed to St. Vincent.

4. Defendant, Nledicredit, |nc., d/b/a Nledicredit Corporation (“l\/ledicredit”), is

a Nlissouri corporation that acts as a debt collector, as defined by § 1692a of the

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FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt
to collect, delinquent consumer debts, including delinquent consumer debts in the
Southern District of |ndiana. ln fact, Medicredit was acting as a debt collector as to the
delinquent consumer debt it attempted to collect from Plairltiff.
FACTUAL ALLEGAT|QNS

5. On May 15, 2007, Ms. Steere and her husband filed a Chapter 7
bankruptcy petition in a matter styled ln re: Steere, S.D. lnd. Bankr. No. 07-04469.
Among the debts listed on Schedule _E of Ms. Steere’s bankruptcy petition was a $469
debt she allegedly owed to St. Vincent. Both Medicredit and St. Vincent were listed on
the bankruptcy petition. W, excerpt of bankruptcy petition attached as Exhibit A.

6. On May 20, 2007, both Medicredit and St. Vincent were sent, via U.S.
Mail, notice of the bankruptcy by the court, W, the Certificate of Service to the Notice
of Chapter 7 Bankruptcy Case, Meeting of Creditors and Deadlines which is attached as
Exhibit §.

7. Nonetheless, Medicredit sent Ms. Steere a collection letter dated June 20,
2007, demanding payment of the $569 debt she had owed St. Vincent prior to the
bankruptcy A copy of this collection letter is attached as Exhibit Q.

8. All of Defendant Medicredit’s collection actions at issue in this matter
occurred within one year of the date of this Complaint.

9. n Defendant’s collection communications are to be interpreted under the
“unsophisticated consumer” standard See, Gammon v. GC Services;Ltd. Partnership.

27 F.3d 1254, 1257 (7th Cir. 1994).

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COUNT l
Vio|ation Of § 1692e Of The FDCPA --
Demanding Payment Of A Debt That ls Not Owed

10. Plaintiff adopts and realleges ‘|i‘|l 1-9.

11. Section 1692e ofthe FDCPA prohibits a debt collector from using any
false and/or any deceptive or misleading representation or means in connection with the
collection of a debt, including, but not limited to, the false representation of the
character, amount or legal status of any debt, § 15 U.S.C. § 1692e(2)(A).

12. Demanding payment of a debt that is no longer owed, due to a
bankruptcy, is false and/or deceptive or misleading, in violation of§ 1692e of the
FDCPA. Randolph v. lMBSJnc., 368 F3d 726, 728-730 (7th Cir. 2004).

13. Defendant’s violation of§ 1692e of the FDCPA renders it liable for actual
and statutory damages, costs, and reasonable attorneys’ fees. Y, 15 U.S.C. § 1692k.

COUNT ll
Violation Of § 1692c(a)(2) Of The FDCPA -
Communicating With A Consumer Represented By Counse|

14. Plaintiff adopts and realleges 1111 1-9.

15. Section 1692c(a)(2) prohibits a debt collector from communicating with a
consumer if the debt collector knows the consumer is represented by an attorney with
respect to such debt and has knowledge of, or can readily ascertainl such attorney’s
name and address

16. Defendant Medicredit, and the creditorl St. Vincent, were given direct,
written notice, through Plaintif'f’s bankruptcy, that Plaintiff was represented by an

attorney in connection with the debt at issue. By directly sending Ms. Steere the June

20, 2007 collection letter (Exhibit _C_), despite notice that she was represented by

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bankruptcy counsel in connection with this debt, Defendant violated § 1692c(a)(2) of the

FDCPA.

17. Defendant’s violation of § 1692c(a)(2) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. §Y, 15 U.S.C. §

1692k.

PRAYER FOR REL|EF

Plaintiff, Leah R. Steere, prays that this Court:

1. Declare that Defendant’s debt collection actions violated the FDCPA;

2. Enterjudgment in favor of Plaintiff Steerel and against Defendantl for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by

§1692k(a) of the FDCPA; and,

3. Grant such further relief as deemed just.

JURY DEMAND

Plaintiff, Leah R. Steere, demands trial by jury.

Dated: July 20, 2007

David J. Philipps (lll. Bar No. 06196285)
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Leah R. Steere,

 
  

 

By:
One of Plaintiff's Att%

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